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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

SOUTH BOSTON ENERGY LLC, D/B/A
NOVEC ENERGY PRODUCTION
HALIFAX COUNTY BIOMASS,

     Plaintiff,

v.                                                 Case No. __________________

HARTFORD STEAM BOILER SPECIALTY
INSURANCE COMPANY,

     Defendant.

                                             ANSWER

         The Defendant, HSB Specialty Insurance Company (“HSB”) (mistakenly named herein

as “Hartford Steam Boiler Specialty Insurance Company”), by counsel, and for its Answer to

South Boston Energy LLC, D/B/A Novec Energy Production Halifax County Biomass’

(NOVEC) Complaint, states as follows:

         1.       Paragraph 1 of the Complaint does not include any allegations against HSB, and,

therefore, no response is required. To the extent any response is required, HSB states that it is

without sufficient information to admit or deny the allegations, and, therefore, denies the

allegations as stated.

         2.       In response to Paragraph 2 of the Complaint, HSB admits only that it issued

Policy No. NHX5212031 to named insured, South Boston Energy, LLC d/b/a NOVEC Energy

Production Halifax County Biomass with an effective date of 12/31/15. In response to the

remaining allegations in Paragraph 2, HSB states that its promotional materials speak for

themselves and it denies any allegations in Paragraph 2 of the Complaint that are incomplete or

that are inconsistent with its promotional materials.
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       3.      In response to Paragraph 3 of the Complaint, HSB admits only that it received

notice of a claim from NOVEC in the Spring of 2016 and that it undertook an investigation of

the claim. HSB states that it is without sufficient knowledge or information to admit or deny the

remaining allegations, and, therefore, denies them and calls for strict proof thereof.

       4.      In response to Paragraph 4 of the Complaint, HSB admits only that from its initial

investigation of the claim it concluded that the alleged loss did not exceed the $500,000

deductible provided for in NOVEC’s Policy. Answering further, HSB denies that NOVEC had

provided all of the information HSB requested concerning the alleged loss at the time it made its

initial claim evaluation. Answering further, HSB denies the remaining allegations in Paragraph

4 of the Complaint.

       5.      In response to Paragraph 5 of the Complaint, HSB admits that in December of

2017, it had concluded that the Policy was not implicated by claim asserted by NOVEC. HSB

denies the remaining allegations in Paragraph 5 of the Complaint.

       6.      In response to Paragraph 6 of the Complaint, HSB denies that any amount if due

and owing under the Policy and denies that NOVEC is entitled to the relief requested.

       7.      Upon information and belief, HSB admits the allegations in Paragraph 7 of the

Complaint.

       8.      HSB admits the allegation in Paragraph 8 of the Complaint, except it states that

the proper name of the defendant is HSB Specialty Insurance Company.

       9.      In response to Paragraphs 9 and 10 of the Complaint, HSB states that these

paragraphs state legal conclusions to which no response is required. To the extent any response

is required HSB denies them and calls for strict proof thereof.




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        10.     In response to Paragraph 11 of the Complaint, HSB states that Paragraph 11 states

a legal conclusion to which no response is required. To the extent any response is required HSB

denies the allegations and calls for strict proof thereof.

        11.     Upon information and belief, HSB admits the allegations in Paragraph 12 of the

Complaint.

        12.     In response to Paragraphs 13, 14 and 15 of the Complaint, HSB states that it is

without sufficient knowledge or information to admit or deny the allegations, and, therefore,

denies them and calls for strict proof thereof.

        13.     HSB denies the allegations in Paragraph 16 of the Complaint.

        14.     In response to Paragraphs 17, 18, 19 and 20, HSB states that these paragraphs do

not include any allegations against it, and, thus, no response is required. To the extent any

response is required, HSB denies the allegations in Paragraphs 17, 18, 19 and 20 of the

Complaint and calls for strict proof thereof.

        15.     HSB denies the allegations in Paragraphs 21 and 22 of the Complaint.

        16.     In response to Paragraph 23 of the Complaint, HSB states that Paragraph 23 does

not include any allegations against it, and, thus, no response is required. To the extent any

response is required, HSB denies the allegations in Paragraphs 23 of the Complaint and calls for

strict proof thereof.

        17.     In response to Paragraph 24 of the Complaint, HSB states that Paragraph 23 does

not include any allegations against it, and, thus, no response is required. To the extent any

response is required, HSB denies the allegations in Paragraphs 23 of the Complaint and calls for

strict proof thereof.   Answering further, HSB denies that NOVEC suffered a covered loss

covered by the Policy as alleged.




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       18.     In response to Paragraph 25 of the Complaint, HSB admits only that NOVEC

alleges it incurred $1,270,635 in repair costs. Answering further, HSB denies that NOVEC

suffered a loss covered by the Policy as alleged.

       19.     In response to Paragraph 26 of the Complaint, HSB states that it is without

sufficient knowledge or information sufficient to enable it to admit or deny the allegations, and,

therefore, denies them and calls for strict proof thereof.

       20.     In response to the allegations in Paragraphs 27, 28, 29, 30, 31, 32, and 33, HSB

states the Policy speaks for itself and it denies any allegations in these paragraphs that are

incomplete or inconsistent with the terms of the Policy. Answering further, HSB denies that

NOVEC suffered a loss covered by the Policy as alleged.

       21.     HSB admits the allegations in Paragraph 34 of the Complaint.

       22.     In response to Paragraphs 35 and 36 of the Complaint, HSB states that the

referenced letter speaks for itself and it denies any allegations in Paragraphs 35 and 36 that are

inconsistent with the referenced letter. Answering further, HSB denies that NOVEC had

provided all of the information HSB requested concerning the alleged loss at the time it made its

initial claim evaluation. Answering further, HSB denies that NOVEC suffered a covered loss

covered by the Policy as alleged.

       23.     In response to Paragraph 37 of the Complaint, HSB admits only that NOVEC

alleges it incurred $1,270,635 in repair costs. Answering further, HSB denies that NOVEC

suffered a loss covered by the Policy as alleged.

       24.     In response to Paragraphs 38, 39 and 40 of the Complaint, HSB states that the

referenced letter speaks for itself and it denies any allegations in Paragraphs 38, 39 and 40 that

are inconsistent with the referenced letter. Answering further, HSB denies that NOVEC had




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provided all of the information HSB requested concerning the alleged loss at the time it made its

initial claim evaluation. Answering further, HSB denies that NOVEC suffered a covered loss

covered by the Policy as alleged.

       25.     In response to Paragraph 41 of the Complaint, HSB admits that by cover letter

dated August 31, 2017, NOVEC’s counsel provided three CD’s on which NOVEC provided

additional information not previously provided regarding the claim. Answering further, HSB

denies that the three CD’s included all of the requested information.

       26.     HSB denies the allegations in Paragraph 42 of the Complaint.

                                            COUNT I

                                      (Breach of Contract)

       27.     In response to Paragraph 43 of the Complaint, HSB incorporates its response to

Paragraphs 1 – 42 of the Complaint as if fully set forth herein.

       28.     In response to Paragraph 44 of the Complaint, HSB states that the allegations are

legal conclusions to which no response is required. To the extent any response is required, HSB

denies any allegations which are incomplete or inconsistent with the terms of the Policy.

Answering further, HSB denies that NOVEC suffered a covered loss covered by the Policy as

alleged.

       29.     In response to Paragraph 45, HSB admits only that NOVEC had paid the premium

on the Policy at issue and that such Policy was in effect on the date of the alleged loss.

Answering further, HSB denies the remaining allegations in Paragraph 45 of the Complaint.

       30.     HSB denies the allegations in Paragraphs 46, 47, 48, 49, 50 and the last

unnumbered paragraph of the Complaint. Answering further, HSB denies that NOVEC suffered

a covered loss covered by the Policy as alleged and further denies that there is any amount due to




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the insured under the terms of the Policy and denies that NOVEC is entitled to the relief

requested.

       31.     HSB denies all allegations contained in the Complaint not specifically admitted

herein, including any allegations contained in unnumbered paragraphs.

       32.     HSB denies that it is liable to NOVEC in any amount, for any cause whatsoever.

       51.     HSB will rely upon any and all proper and provable defenses that may be revealed

through investigation, discovery or the presentation of evidence.

       52.     HSB hereby reserves all potential coverage defenses available to it with respect to

any claim under the subject Policy.

                                      Affirmative Defenses

       1.      The Complaint fails to state a claim or cause of action for breach of contract upon

which relief can be granted.

       2.      The Complaint fails to state a claim or cause of action under Va. Code Section

38.2-209 upon which relief can be granted.

       3.      HSB acted in good faith at all relevant times with regard to the subject claim by

NOVEC.

       4.      The loss alleged in the Complaint fails to meet the requirements of the definition

of accident in the subject Policy.

       5.      Exclusion 1.(o) in the Policy excludes coverage for the claim at issue.

       6.      Exclusion 2.(b) in the Policy excludes coverage for the claim at issue.

       7.      NOVEC has failed to comply with the conditions in the Policy, including the

policy conditions requiring the insured to cooperate and prove its loss.




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       8.      To the extent NOVEC failed to disclose any reimbursements it may have received

from third parties with regard to the loss alleged, NOVEC has failed to comply with the policy

condition concerning concealment, misrepresentation or fraud thereby voiding the Policy.

       9.      HSB reserves the right to rely on any and all defenses under the Policy, and

reserves the right to amend this Answer at any time it may be so advised.

       WHEREFORE, Defendant HSB Specialty Insurance Company, by counsel, requests that

this Court enter judgment in its favor and against NOVEC and to provide for such other relief as

this Court may determine is fair and equitable, including an award of costs incurred herein.


                                                      HSB SPECIALTY INSURANCE
                                                      COMPANY

                                                      By Counsel




s/Elizabeth S. Skilling
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                                    CERTIFICATE

        I hereby certify that on the 17th day of May, 2018, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to the following:


              Kristin C. Davis, Esq.
              Julie L. Hammerman, Esq.
              Gary Thompson, Esq.
              Weisbrod, Matteis & Copley, PLCC
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                                            s/Elizabeth S. Skilling
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